JS 44 (Rev. 12/12)
                     Case 3:15-cv-01174-AJB-DHB Document
                                              CIVIL COVER1-1 SHEET         '15CV1174
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                                                                                        Page
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                       DEFENDANTS
       CAMILO MARQUEZ                                                                                   MIDLAND CREDIT MANAGEMENT, INC.
   (b) County of Residence of First Listed Plaintiff              San Diego                             County of Residence of First Listed Defendant San Diego
                                 (EXCEPT IN U.S. PLAINTIFF CASES)                                                              (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                        NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                   THE TRACT OF LAND INVOLVED.
   (c) Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)
                                                                                                     Thomas F. Landers [SBN 207335] Phone: 619-231-0303
                                                                                                     SOLOMON WARD SEIDENWURM & SMITH, LLP
                                                                                                     401 B Street, Suite 1200
                                                                                                     San Diego, CA 92101
                                                                                                     Email: tlanders@swsslaw.com
II. BASIS OF JURISDICTION (Place an "X" in One Box Only)                                    III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff)
                                                                                                    (For Diversity Cases Only)                                       and One Box for Defendant)
   1 U.S. Government                    3 Federal Question                                                                    PTF       DEF                                          PTF     DEF
       Plaintiff                            (U.S. Government Not a Party)                      Citizen of This State            1          1     Incorporated or Principal Place         4      4
                                                                                                                                                   of Business In This State
   2 U.S. Government                    4 Diversity                                                                                 2        2   Incorporated and Principal Place         5       5
                                                                                               Citizen of Another State
       Defendant                            (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State
                                                                                               Citizen or Subject of a              3        3                                            6       6
                                                                                                 Foreign Country                                 Foreign Nation
IV. NATURE OF SUIT (Place an "X" in One Box Only)
          CONTRACT                                              TORTS                            FORFEITURE/PENALTY                        BANKRUPTCY                     OTHER STATUTES
   110 Insurance                      PERSONAL INJURY                 PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158            375 False Claims Act
   120 Marine                          310 Airplane                    365 Personal Injury -           of Property 21 USC 881           423 Withdrawal                   400 State Reapportionment
   130 Miller Act                      315 Airplane Product                Product Liability       690 Other                                28 USC 157                   410 Antitrust
                                            Liability                  367 Health Care/
   140 Negotiable Instrument                                                                                                                                             430 Banks and Banking
                                       320 Assault, Libel &                Pharmaceutical                                               PROPERTY RIGHTS
   150 Recovery of Overpayment                                             Personal Injury                                                                               450 Commerce
                                            Slander                                                                                     820 Copyrights
       & Enforcement of Judgment                                           Product Liability                                                                             460 Deportation
                                       330 Federal Employers'                                                                           830 Patent
   151 Medicare Act                                                    368 Asbestos Personal                                                                             470 Racketeer Influenced and
                                            Liability                                                                                   840 Trademark
   152 Recovery of Defaulted                                               Injury Product                                                                                    Corrupt Organizations
                                       340 Marine
       Student Loans                                                       Liability                      LABOR                         SOCIAL SECURITY                  480 Consumer Credit
       (Exclueds Veterans)             345 Marine Product            PERSONAL PROPERTY             710 Fair Labor Standards             861 HIA (1395ff)                 490 Cable/Sat TV
   153 Recovery of Overpayment              Liability                  370 Other Fraud                 Act                              862 Black Lung (923)
       of Veteran's Benefits           350 Motor Vehicle                                                                                                                 850 Securities/Commodities/
                                                                       371 Truth in Lending        720 Labor/Management.                                                     Exchange
   160 Stockholders' Suits             355 Motor Vehicle                                                                                863 DIWC/DIWW (405(g))
                                                                       380 Other Personal              Relations
                                            Product Liability                                                                           864 SSID Title XVI               890 Other Statutory Actions
   190 Other Contract                                                      Property Damage         740 Railway Labor Act
                                       360 Other Personal                                                                                                                891 Agricultural Acts
   195 Contract Product Liability                                      385 Property Damage         751 Family and Medical               865 RSI (405(g))
                                            Injury                         Product Liability                                                                             893 Environmental Matters
   196 Franchise                                                                                       Leave Act
                                       362 Personal Injury -                                                                                                             895 Freedom of Information
                                                                                                   790 Other Labor Litigation
                                            Medical Malpractice                                                                                                              Act
       REAL PROPERTY                     CIVIL RIGHTS                PRISONER PETITIONS            791 Employee Retirement              FEDERAL TAX SUITS                896 Arbitration
                                                                       Habeas Corpus:                  Income Security Act
   210 Land Condemnation                440 Other Civil Rights                                                                          870 Taxes (U.S. Plaintiff        899 Administrative Procedure
   220 Foreclosure                      441 Voting                      463 Alien Detainee                                                  or Defendant)                    Act/Review or Appeal of
   230 Rent Lease & Ejectment           442 Employment                 510 Motions to Vacate                                            871 IRS—Third Party                  Agency Decision
                                                                            Sentence                                                        26 USC 7609                  950 Constitutionality of
   240 Torts to Land                    443 Housing/                                                  IMMIGRATION
                                                                       530 General                                                                                           State Statutes
   245 Tort Product Liability               Accommodations                                         462 Naturalization Application
                                        445 Amer. w/Disabilities -     535 Death Penalty
   290 All Other Real Property                                                                     465 Other Immigration
                                            Employment                 Other:
                                                                                                       Actions
                                        446 Amer. w/Disabilities -     540 Mandamus & Other
                                            Other                       550 Civil Rights
                                        448 Education                  555 Prison Condition
                                                                        560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an "X" in One Box Only)
                                                                                                                  Transferred from
   1 Original            2 Removed from             3 Remanded from                4 Reinstated or           5 Another District              6 Multidistrict
     Proceeding            State Court                   Appellate Court              Reopened                    (specify)                       Litigation
                                   Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                        15 U.S.C. § 1681, et seq.
VI. CAUSE OF ACTION                     Brief description of cause:
                                        Fair Credit Reporting Act
VII. REQUESTED IN                            CHECK IF THIS IS A CLASS ACTION                     DEMAND $Less             than $10,000 CHECK YES only if demanded in complaint:
     COMPLAINT:                              UNDER RULE 23, F.R.Cv.P.                                                                         JURY DEMAND:                   Yes        No
VIII. RELATED CASE(S)
      IF ANY                              (See instructions):        JUDGE                                                              DOCKET NUMBER
DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD
May 20, 2015                                                            s/Leah S. Strickland
FOR OFFICE USE ONLY
  RECEIPT #                      AMOUNT                                  APPLYING IFP                                    JUDGE                             MAG. JUDGE

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                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
         sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than
         one nature of suit, select the most definitive.

V.       Origin. Place an "X" in one of the six boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407.
         When this box is checked, do not check (5) above.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.




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